                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                          )
                      Plaintiff,                    )
                                                    )
 vs.                                                ) CASE NO. 3:03-CR-209-FDW-DCK
                                                    )    (Financial Litigation Unit)
                                                    )
 BRYAN J BLOUNT,                                    )
                              Defendant,            )
 and                                                )
                                                    )
 ROCK TENN SERVICES, INC.,                          )
                       Garnishee.                   )


                       DISMISSAL OF WRIT OF GARNISHMENT

       Upon motion of the United States (Document No. 228), for the reasons stated therein and

for good cause shown, it is ORDERED that the Order of Continuing Garnishment as to Rock Tenn

Services, Inc., filed in this case on August 10, 2011, against Defendant Bryan J. Blount, is

DISMISSED.

       SO ORDERED.



                                         Signed: July 12, 2017




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